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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


ROSEMARY HENN, individually and on            )       CASE NO. 8:15-CV-00257-JFB-SMB
behalf of all others similarly situated,      )
                                              )
        Plaintiff,                            )
                                              )                       ORDER
v.                                            )
                                              )
AMERICAN FAMILY MUTUAL                        )
INSURANCE COMPANY,                            )
                                              )
        Defendant.                            )


        This matter is before the Court on the parties’ Stipulation for Dismissal with Prejudice

(“Stipulation”) (Filing No. 71). After giving consideration to the Stipulation and being fully

advised in the premises:

        IT IS HEREBY ORDERED that the Stipulation is approved; and

        IT IS FURTHERED ORDERED this action is dismissed with prejudice.

        Dated this 30th day of March, 2017.


                                                    BY THE COURT:


                                                    s/ Joseph F. Bataillon
                                                    Senior United States District Judge
